                                                           Exhibit A
Mecklenburg Gounty Clerk of Superior Court




            STATE OF NORTH CAROLINA                         IN THE GENERAL COURT OF JUSTICE
                                                            SUPERIOR COURT DIVISION
            COUNTY OF MECKLENBURG                                        24 CVS
                                                                        24CV003839-590

            COREY HEMPHILL,
                                                     )
                              Plaintiff,

                                                                    COMPLAINT

            CHARLOTTE-MECKLENBURG
            BOARD OF EDUCATION, and                  )

            CHRISTOPHER K. BERNARD
            individually and in his official
            capacity

                    Defendants.                      )


                    Plaintiff, requesting a jury trial, alleges the following against Defendants.

                                           INTRODUCTION AND JURISDICTION

                              1.      This is an action for violation of the due process clause of the Fourteenth

                    Amendment under 42 U.S.C.§1983, and for Negligent and Intentional Infliction of

                    Emotional Distress under state law.

                              2.      Plaintiff is a citizen and resident of Mecklenburg County. His employment

                    began with Charlotte-Mecklenburg Schools           (CMS"),    a division   of the Charlotte-

                    Mecklenburg Board of Education (""CMBOE") in 2019 as a Behavioral Modification

                    Technician I.("BMT")

                              3.      As a BMT, Plaintiff was responsible for providing support to CMS schools

                    in addressing student misconduct, assaultive behaviors, breaking up fights, managing

                    threats    to   schools and dealing with emotional        disabled students who become

                    verbally/physically aggressive while in school.



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       4.      However dealing with emotionally disabled students was not part of the

Plaintiffs job description, which goes to the negligence of CMS. He was required to go

inside the Exceptional Child (EC) classroom full-time at James Martin during the 2021-

2022 school year, he was also hired at the Metro School with no CPI training.

       5.      Plaintiff alleges that CMBOE failed to properly train him and other

similarly situated BMT employees throughout the school district over a period of at least

three (3) years. This failure to ensure BMT employees were properly trained put the

Plaintiff and other BMT employees at personal risk of harm and in addition put the schools

they served in a "non-compliant" status. This failure to train' constituted a deprivation,

involved egregious conduct under color of law with regard to a property right of Plaintiff

that shocks the conscience and thus violated the substantive due process protections of the

Fourteenth Amendment, and also constituted intentional infliction of emotional distress.

       6.      There are no administrative remedies to exhaust regarding his claims.

       7.      This Court has concurrent jurisdiction over the federal claims under 42

U.S.C. § 1988 claims under Chapter 7A of the General Statutes.

                                      II. PARTIES

       8.      Plaintiff is an African American citizen and resident of Mecklenburg

County, North Carolina

       9.      Defendant Charlotte-Mecklenburg Board of Education is a body corporate

whose board members are duly elected by the citizens of Mecklenburg County and is

charged by state law with control and operation of the public schools in the City of

Charlotte and Mecklenburg County known as the Charlotte-Mecklenburg Schools or

"CMS "


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        10.      Defendant, Christopher K. Bernard, (“Bernard”) on information and

belief, is a citizen and resident of Mecklenburg County and, at all times relevant, was a

Principal employed by CMS and was under the guidance and control of CMBOE.

        11.     Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343, and on the pendent

jurisdiction of this Court to entertain claims arising under state law.

12.     Defendants are “persons” within the meaning of the 42 U.S.C. § 1983, and each has

the capacity to be sued for the claims presented in this action.

13.     Under N.C. Gen. Stat. § 115C-40, the Board has general control and supervision of

all matters pertaining to the public schools of Mecklenburg County, including the authority

to prosecute or defend suits for or against the Board.

14.     The Board has waived the defense of sovereign immunity by the purchase of

liability insurance.

15.      A portion of Bernard’s actions complained of were taken under color of state law

for purposes of 42 U.S.C. § 1983.

                                           FACTS

16.     Plaintiff began working for CMS as a BMT in the summer of 2019.

17.     Plaintiff while employed for CMS was assigned as a BMT at James Martin Middle

School, a Title I school. In addition to his duties as a BMT, he served as the school’s boys

basketball coach.

18.     According to the CMS Job Description for Behavior Modification Technician, a

BMT “promotes the safety, well-being, and educational success of students by

implementing behavior management programs and working as a team member to increase

social, behavioral and academic skills needed for success.”




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19.     Other duties and responsibilities as noted in the job description include but are not

limited to assist with day-to-day discipline issues of students, responds to crisis and routine

calls for assistance and diffuses and de-escalates potentially volatile situations.

20.     Some of the physical requirements of a BMT include but are not limited to regularly

have sufficient physical strength and ability to exert physical effort as needed for crisis

intervention and be able to work with risk for potential job-related injury such as physical

confrontations.

21.     In addition to the items listed on the BMT Job Description, the Plaintiff and other

BMT employees accordingly to CMS policy were supposed to undergo and attend Active

Nonviolent Crisis Intervention (CPI) training within thirty (30) days of employment.

22.     Upon Plaintiff’s hire at James Martin Middle School (JMMS) he was never

informed or made aware of the need for him to take the CPI training. He only became

aware of the requirement to be trained during a subsequent investigation.

23.     Plaintiff worked without incident up until December of 2021. On December 17,

2021, an incident took place at JMMS involving a student with known behavioral issues.

24.     Plaintiff was performing his job duties and attempted to divert the student in

question from an area in school and that student was non-compliant with his commands.

25.     Ultimately based upon the student’s conduct and failure to comply, Plaintiff was

forced to take measures to restrain and divert that student. As a result of this incident,

CMS by and through its agent Christopher Bernard, the Principal at JMMS decided to

report Plaintiff to human resources.

26.     The school resource Officer James conducted an investigation into the incident.

This investigation included watching video tape from the school camera and interviewing




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persons involved in the matter.

27.     Based upon the information gathered by Officer James, the police report she

prepared corroborated the account of the incident according to the Plaintiff. Before

Plaintiff's return to school following the suspension, he watched the video of the incident

with the Human Resources Director and other human resources personnel in the beginning

when he was initially contacted about the matter and it was clear from the tape that it had

been “edited”.

28.     Plaintiff learned that the video was edited on the “determination call” with the

Human Resources Manager Michele Jean-Jumeau and Defendant Bernard.

29.     Investigator Theresa Adams who was assigned to Plaintiff as the investigator and

was the point of contact during the investigation, suddenly stopped communication with

Plaintiff with no explanation and Michele Jean-Jumeau assumed the role as the

investigator. Ms. Jean-Jumeau knew that Defendant Bernard tampered with the video.

30.     Officer James told the Plaintiff that he was the “victim” and indicated that the edited

video constituted tampering with evidence.

31.     Officer James and Principal Bernard met with the mother of the child in question

following the investigation to discuss the matter. Officer James gave an accurate account

of the investigation and described the conduct of the child and Principal Bernard was

visibly upset and enraged over this depiction.

32.     A second zoom call was held with Michele Jean-Jumeau, the Human Resources

Manager and Defendant Bernard and that person falsely indicated that due to Plaintiff using

“excessive force” including allegedly grabbing the student by neck he would be issued a

written warning that would become part of his permanent file with CMS.




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33.     Plaintiff disputed the characterization made by Ms. Jean-Jumeau regarding

“grabbing the student by the neck” and she recanted and admitted that it was the top of the

book bag. However, this false statement about grabbing the student by the neck was still

falsely included in the written warning in Plaintiff’s “permanent file”.

34.     Plaintiff indicated during this meeting that that the video had been edited and the

human resources manager admitted that he was only shown the “short version” of the video

and that it had been edited. The only persons with access to the video were Officer James

and Principal Bernard. Principal Bernard ultimately made the decision to report this matter

to human resources and to discipline Plaintiff based on the false narrative stated above.

35.     Officer James admitted to Plaintiff that he was the “victim” in this situation and he

should have never been investigated or suspended. The student should have been

investigated and consequences taken as a result of his assaultive behavior towards Plaintiff.

36.     The investigation conducted by Officer James and the police report she wrote

indicated that Plaintiff was the victim and was struck five (5) times by the student in

question.

37.     During the time Plaintiff was suspended, his coaching duties were taken from him

and he had no more contact with his student athletes. This was a very traumatic experience

for him as he had bonded with the students and they were not given any explanation for his

departure. This caused him more emotional distress and anguish over the manner in which

he was treated by Bernard and CMS.

38.     Plaintiff sought therapy and mental health treatment as a result of the incidents in

questions.

39.     Following his suspension, he was forced to come back to work in an environment




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that was filled with lies and allegations. He was filled with high anxiety and emotional

distress. He endured tremendous difficulty sleeping and waking up in the middle of the

night. He was severely pained to know all that he had given to the students and to have it

ripped away because of lies and deceitful conduct.

40.      At the time of his hire and for the first three (3) years of his employment, he was

never informed by CMBOE/CMS that as part of his job as       raa   BMT he was required to attend

mandatory training for his position.

41.      As an employee of CMS, the Plaintiff was put in a hostile environment without

proper training. He was into his third year working in CMS before he was informed that as

part of his job duties, he needed to attend a Mandatory Training for his position as         a   BMT

at a Title 1 school. There were approximately 26 guns found on CMS properties during

2022 alone. There have been multiple assaults on staff, numerous fights, gang activity,

threats to shoot the school, and intimidation from students towards teachers to name a few

of the types of negative, hostile and threatening behaviors.

42.      During the course of the investigation into the matters involving the Plaintiff and

his disciplinary process at James Martin School, it was revealed that approximately seventy

(70) BMT employees in CMS Title 1 Schools who had not been CPI trained, like the

Plaintiff. The average number of BMT personnel per school is 1-2.

43.      Asaresult of this failure of CMBOE/CMS to train its BMT employees, these Title

1   Schools were out of compliance, putting the Plaintiff and all similarly situated BMT

employees at risk of harm as well as the students at these schools due to this lack of training.

44.      CPI training is mandatory for all BMT employees at Title           1   CMS Schools. On the

CMS website under "My Talent" it is stated that CPI Training is mandatory eight (8) hour
                                                                      raa




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training.

45.     The Plaintiff was not made aware of this mandatory 8-hour requirement until he

completed his CPI training. Following his training session, the CMS trainer falsely wrote

on his CPI card that he completed "8 hours" of training when in fact the training was less

than 8 hours.

46.     The Plaintiff received an email from the CMS Human Resources Manager Michele

Jean-Jumeau to inform him of the date, location and time of his CPI training session. In

this message it was noted that the hours of training were 9 am until 1 pm (4 hours, not 8 as

required). The training class ended at 12:45 pm. The trainer was rushing because she

indicated that she had another training at another school when she left the class attended

by the Plaintiff.

47.     The deception and failure of CMS was intentional because of other examples of

inadequate training. Another CMS employee named Alexis Blue (female) worked with the

Plaintiff at James Martin Middle School, was hired in the summer of 2021. Pursuant to

CMS guidelines, CPI training must be completed within thirty (30) days of hiring or your

school is out of compliance. She received her CPI Training on February 21, 2022 and her

hours of training were from 8 am until 1 pm (5 hours, not 8 as required). This was well

after 30 days of hire and also after Plaintiff's incident and CMS being aware of the training

deficiencies in the school and throughout the district.

48.     In addition, the Assistant Principal at James Martin Middle School, Mr. Evans

informed the Plaintiff that his CPI card was expired during the time of the incident.

49.     There were other issues associated with the investigatory process involving the

Plaintiff's case. According to CMBOE/CMS policy, the incident in question was supposed



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to be documented in the Incident Management System by the Principal (Bernard).

50.     The PowerSchool Incident Management System indicates that “all discipline and

truancy data should be coded into the Incident Management to ensure consistency in data

reporting for federal and state requirements.”

51.     The incident involving the Plaintiff was not properly reported into this Incident

Management System.

52.     Upon Plaintiff’s return to school following his suspension, the school

administrators informed him that they were unaware of the case and his situation because

the Principal (Bernard) told everyone that he was taking care of everything. The Assistant

Principal, the Dean of Students and Officer James all confirmed this with the Plaintiff.

53.     There was no incident recorded in PowerSchool as required by law, evidence that

the videotape was tampered with, no NCI/CPI training as required by law, lies and

deception by CMS officials, CMS and dozens of schools out of compliance, deception in

the reporting of CPI training hours has caused and continues to cause Plaintiff mental

anguish, damages, pain and suffering due to the actions of CMS officials.

54.     As a result of the actions of CMS and Bernard, Plaintiff suffered extreme and severe

emotional distress given the nature of the circumstances from investigation and the

intentional acts of Bernard as part of the transaction that forms the basis of this claim.

55.     The Plaintiff has suffered and continues to suffer to this day mental anguish and

continues to deal with feelings of not being in the right place with his thoughts and feelings.

56.     He was the head coach of the Middle School Basketball team and knowing that his

team needed him and that he could not do anything to assist them due to the processes he

was wrongfully put through by Principal Bernard and others at the school and within CMS.




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57.      Plaintiff continues to experience sleepless nights and waking up in the middle of

the night due to this incident.

58.      Plaintiff continues to experience a loss of appetite knowing that his reputation and

character have been impugned and tarnished by the actions of CMS which continues to

make him sick to his stomach knowing the lies and deception perpetrated against him.

59.      As a result of the actions taken against him he has sought therapy and has met with

a therapist to address his mental issues that continue to affect him.

60.      Prior to his departure from CMS, he exercised his rights to take mental health days

to address his situation.

61.      In addition, Plaintiff had a problem with being a paid suspension as he could not

bond with his players and continue the mentoring that he once did prior to this unfortunate

incident.

62.      The incident in question took place on December 17, 2021, a zoom call was held

on January 3, 2022 and Plaintiff was asked to turn in his Chrome Book on January 4, 2022

and he was not allowed to return to the school or any CMS campus, make no or have any

contact with any CMS personnel or student and was not allowed to coach his team. The

final basketball game was February 3, 2022 and he was not allowed to participate in that

game.

63.      Knowing that the Plaintiff was put into a dangerous environment five (5) days a

week for almost three (3) years, without the proper training to deal with the numerous

issues faced by himself and other BMT employees continues to give him the chills.

64.      Knowing that the Plaintiff has knowledge of students bringing guns to school,

engaging in numerous fights, and the fact that he was not properly trained was negligence




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on the part of CMBOE/CMS.

65.      Lashell Laughlin, a 20 plus year CMS employee was upset with how Plaintiff was

being treated as a result of the incident at James Martin Middle School. On her own, she

reached out to her good friend in Human Resources, to enquirer about his case while he

was still on suspension. Her good friend was not over his case, but she was able to get

information back to Ms. Laughlin and she also stated that she is not supposed to give out

this information. Ms. Laughlin was told that, "We" as in CMS dropped the ball. Because

of the time that Mr. Hemphill was employed, it is no explanation that can be given for him

not being CPI Trained. She also stated, if he were hired that same year, we could say "due

to Covid" as to why he hasn't been trained, but being he is in his 3rd year, "We" simply


dropped the ball."

                    FIRST CAUSE OF ACTION
(SUBSTANTIVE DUE PROCESS VIOLATION -42 U.S.C. § 1983; CONSTITUTION
               OF THE UNITED STATES, AMEND. XIV)

66.      Plaintiff incorporates all prior paragraphs by reference.

67.      Under the Due Process Clause of the Fourteenth Amendment, Plaintiff had the

right to be free from malicious intentional conduct at the hands of public-school

employees such as Defendant Bernard.

68.      Asa state actor, Defendant Bernard's actions as an agent of CMS in altering the
video and painting Plaintiff in a false light were taken under color of state law and

constituted an attempt to take property from Plaintiff without notice to him, in violation

of his right to Due Process of law under the Fourteenth Amendment. Such conduct is

actionable under 42 U.S.C. § 1983.




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69.      Defendant Bernard, a state actor, caused through his affirmative acts the

deprivation of Plaintiff’s rights, privileges, or immunities secured by the Constitution of

the United States, namely Plaintiff’s substantive due process right against state-actor

conduct that deprives one from equal protection under the law.

70.      Further, Defendant Bernard’s conduct as an agent of CMS in willfully altering the

investigation video by Officer James was so beyond societal norms as to “shock the

conscience” and thus constituted a violation of substantive due process that is also

actionable under 42 U.S.C. § 1983.

71.      Plaintiff brings this claim against CMS and Defendant Bernard in his individual

and official capacity.

72.      Defendant CMBOE, a state actor, subjected the Plaintiff to unlawful actions of its

agent Defendant Bernard and violated his right as a public-school employee by not

allowing him to remain actively engaged in his position as a BMT and basketball coach.

73.      Furthermore, the evidence in this case shows that Plaintiff and other BMT

employees throughout CMS were not properly trained and had not been instructed by

CMBOE to attend training or even made aware of the CPI training in order to be properly

equipped to protect themselves, the students, the schools and their staff from difficulties

and challenges associated with operating a Title I school.

74.      Plaintiff believes and therefore avers that Defendant Board has unconstitutional

customs or policies of:

         a. Failing to provide BMT employees like Plaintiff proper education and training

            for their positions to protect them, students, faculty and staff from persons and

            situations that can cause them harm and to be free from said conduct; and




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         b. Failing to implement policies and procedures to ensure that BMT employees

            such as Plaintiff receive the necessary and training within the first thirty (30)

            days of hire for these roles to ensure that the schools are compliant with this

            policy and that its employees are adequately trained and certified to address

            the issues that will arise during the course of a school year.

75.      Defendant Board is a policymaker for the purpose of implementing Defendant

Board’s unconstitutional policies and customs.

76.      Defendant Board’s actions in failing to ensure Plaintiff and other BMT employees

receive the proper and mandated training caused Plaintiff harm and severe emotional

distress and shocks the conscience, and nothing less.

77.      Plaintiff has suffered severe and permanent psychological damages, physical

harm, and emotional distress as a direct and proximate result of Defendant Board’s

conduct and violations of Plaintiff’s Fourteenth Amendment rights.

78.      Plaintiff is informed and believes that he is entitled to a judgment against

Defendant Board for compensatory damages, interest, costs, and attorneys’ fees and

against Defendant Bernard for compensatory damages, interest, costs, and attorneys’

fees.

79.      Plaintiff also seeks attorney’s fees under 42 U.S.C. §1988.

                       SECOND CAUSE OF ACTION
            (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)


77.      Plaintiff incorporates all prior paragraphs by reference.

78.      Defendant Bernard knew of the existence of the video recording of the incident

involving Plaintiff on December 17, 2021. Defendant Bernard upon information and belief




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cause said video to be altered in such a way to negatively affect Plaintiff and his

employment with CMS.

79.      Defendant Bernard used the altered video as part of his rationale to create a false

narrative and paint Plaintiff in a negative light in his employment with CMS and left this

legacy of lies in his permanent CMS personnel file.

80.      Bernard did so without Plaintiff’s knowledge or consent.

81.      The conduct of Defendant Bernard was extreme and outrageous and exceeded all

bounds usually tolerated by decent society.

82.      Defendant Bernard’s conduct was intended to cause or was reckless in regard to the

likelihood of causing Plaintiff severe emotional distress.

83.      Defendant Bernard’s conduct did cause Plaintiff to suffer severe emotional distress.

84.      As a result of the conduct of Defendant Bernard, Plaintiff suffered emotional distress

that no reasonable person could be expected to endure in that Plaintiff suffered harm

to his emotional and psychological wellbeing resulting from the emotional impact of the

actions by Defendant Bernard.

85.      Defendant Bernard had a duty to exercise ordinary prudence to protect Plaintiff

from foreseeable harm.

86.      Defendant Bernard’s conduct as alleged hereinabove breached his duty of care

owed to Plaintiff and proximately caused Plaintiff to experience severe emotional

distress.

87.      Defendant Bernard could reasonably foresee that his negligent conduct would

cause Plaintiff to suffer severe emotional distress.

88.      Defendant Bernard’s conduct proximately caused Plaintiff to experience




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      severe emotional distress.

      89.      As a result of the conduct of Defendant Bernard, Plaintiff suffered emotional distress

      that no reasonable person could be expected to endure in that Plaintiff suffered harm to his

      emotional and psychological wellbeing.

      90.      Defendant Bernard acted with actual and legal malice when he intentionally altered

      the videotape, and then submitted the altered tape as part of the investigation concerning

      Plaintiff’s encounter with the student which he used to negatively impact his employment.

      91.      Plaintiff sues Defendant Bernard individually on this claim, as he acted with malice

      and beyond the scope of his lawful authority in altering a videotape and submitting it as

      part of an investigation led by police officer in the course of his duties.

      92.      Plaintiff seeks and is entitled to all damages allowed under the law for intentional

      infliction of emotional distress, including punitive damages against Defendant Bernard

      individually under Chapter 1D or the General Statutes.

                              THIRD CAUSE OF ACTION
                   (NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS)

      93.      Plaintiff incorporates all prior paragraphs by reference.

      94.      The conduct of Defendant B e r n a r d was extreme and outrageous and exceeded

      all bounds usually tolerated by decent society.

  95. Defendant Bernard’s conduct was intended to cause, or was reckless in regard to the

likelihood of causing Plaintiff severe emotional distress.

  96. Defendant Bernard’s conduct did cause Plaintiff to suffer severe emotional distress.

      97.      As a result of the conduct of Defendant Bernard, Plaintiff suffered emotional

      distress that no reasonable person could be expected to endure in that Plaintiff suffered

      harm to his emotional and psychological well-being resulting from the emotional impact



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       of the conduct by Defendant Bernard.

       98.      Defendant Bernard had a duty to exercise ordinary prudence to protect Plaintiff from

       foreseeable harm.

       99.      Defendant Bernard’s conduct as alleged hereinabove breached his duty of care owed

       to Plaintiff and proximately caused Plaintiff to experience severe emotional distress.

       100.     Defendant Bernard could reasonably foresee that his negligent conduct would cause

       Plaintiff to suffer severe emotional distress.

       101.     Defendant Bernard’s conduct proximately caused Plaintiff to experience severe

       emotional distress.

       102.     As a result of the conduct of Defendant Bernard, Plaintiff suffered emotional

       distress that no reasonable person could be expected to endure in that Plaintiff suffered

       harm to his emotional and psychological well-being.

                                                JURY DEMAND

              Plaintiff demands that all matters be tried before a jury of his peers.




                                            PRAYER FOR RELIEF

       Upon the trial of this matter, Plaintiff prays that the Court enter Judgment for him and

award the following relief:

                 a. Compensatory damages;

                 b.   The costs of this action, including reasonable attorney’s fees under 42 U.S.C.

       § 1988;

                 c. Punitive damages due the intentional, extreme and reckless conduct of all

       Defendants in this action; and



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    d .For such other and further relief as to which Plaintiff may be entitled or as to the
Court may seem proper and just.



Respectfully submitted this 28" day of December 2023.



                              THE MONTGOMERY LAW FIRM, PLLC
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